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                                         Office of the Clerk
                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
                                            415-355-8000                               FILED
Molly C. Dwyer
Clerk of Court                                                                          FEB 7 2025
                                                                                    MOLLY C. DWYER, CLERK
                                                                                     U.S. COURT OF APPEALS

                   PRELIMINARY INJUNCTION TIME SCHEDULE NOTICE


       Docket Number:           25-807
       Originating Case Number: 2:25-cv-00127-JCC

       Short Title:                  State of Washington, et al. v. Trump, et al.

      Dear Appellant/Counsel


      Your notice of appeal has been received in the Clerk's office of the United States Court of
      Appeals for the Ninth Circuit. The U.S. Court of Appeals docket number shown above
      has been assigned to this case. You must indicate this Court of Appeals docket number
      whenever you communicate with this court regarding this case.

      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.

      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.

      You must file a Disclosure Statement (Form 34) within 14 days of this notice if your
      case: (1) involves a non-governmental corporation, association, joint venture, partnership,
      limited liability company, or similar entity; (2) is a bankruptcy case; (3) is a criminal case
      involving an organizational victim; or (4) involves review of state court proceedings. See
      Ninth Circuit Rule 26-1.1.

      Failure of the appellant(s) to comply with the time schedule order will result in
      dismissal of the appeal.
        Case 2:25-cv-00127-JCC    Document 119   Filed 02/07/25   Page 2 of 5


Please read the enclosure materials carefully.
                 Case 2:25-cv-00127-JCC     Document 119    Filed 02/07/25   Page 3 of 5

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                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
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                                            415-355-8000
Molly C. Dwyer
Clerk of Court



                   PRELIMINARY INJUNCTION TIME SCHEDULE NOTICE


        Docket Number:           25-807
        Originating Case Number: 2:25-cv-00127-JCC

        Case Title:                 State of Washington, et al. v. Trump, et al.



        Friday, March 7, 2025
        Donald J. Trump                                     Preliminary Injunction Opening
                                                            Brief Due
        United States Department of Homeland Security       Preliminary Injunction Opening
                                                            Brief Due
        Social Security Administration                      Preliminary Injunction Opening
                                                            Brief Due
        Michelle King                                       Preliminary Injunction Opening
                                                            Brief Due
        United States Department of State                   Preliminary Injunction Opening
                                                            Brief Due
        Marco Rubio                                         Preliminary Injunction Opening
                                                            Brief Due
        United States Department of Health and Human        Preliminary Injunction Opening
        Services                                            Brief Due
        Dorothy Fink                                        Preliminary Injunction Opening
                                                            Brief Due
        DOJ - United States Department of Justice           Preliminary Injunction Opening
                                                            Brief Due
          Case 2:25-cv-00127-JCC     Document 119     Filed 02/07/25    Page 4 of 5

Pamela Bondi                                           Preliminary Injunction Opening
                                                       Brief Due
United States Department of Agriculture                Preliminary Injunction Opening
                                                       Brief Due
Gary Washington                                        Preliminary Injunction Opening
                                                       Brief Due
United States of America                               Preliminary Injunction Opening
                                                       Brief Due
Kristi Noem                                            Preliminary Injunction Opening
                                                       Brief Due
Jeff Wu                                                Preliminary Injunction Opening
                                                       Brief Due
Centers for Medicare and Medicaid Services             Preliminary Injunction Opening
                                                       Brief Due

Friday, April 4, 2025
State of Washington                                    Preliminary Injunction Answering
                                                       Brief Due
State of Arizona                                       Preliminary Injunction Answering
                                                       Brief Due
State of Illinois                                      Preliminary Injunction Answering
                                                       Brief Due
State of Oregon                                        Preliminary Injunction Answering
                                                       Brief Due
Delmy Franco Aleman                                    Preliminary Injunction Answering
                                                       Brief Due
Cherly Norales Castillo                                Preliminary Injunction Answering
                                                       Brief Due
Alicia Chavarria Lopez                                 Preliminary Injunction Answering
                                                       Brief Due


If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3. If there were no reported hearings,
the transcript deadlines do not apply.
The optional reply may be filed within 21 days of service of the answering brief. See
Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
        Case 2:25-cv-00127-JCC    Document 119    Filed 02/07/25   Page 5 of 5

Failure of the appellant to comply with the time schedule order may result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.
